 Case 6:08-cv-00440-JDL Document 58 Filed 08/24/09 Page 1 of 1 PageID #: 500



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

ALOFT MEDIA, LLC,                                §
                                                 §
Plaintiff,                                       §
                                                 §      Civil Action No. 6:08-cv-440-LED-JDL
v.                                               §
                                                 §      JURY TRIAL DEMANDED
GOOGLE, INC.,                                    §
                                                 §
Defendant.                                       §


                                             ORDER

        Before the Court is Plaintiff Aloft Media, LLC’s Motion to Suspend Deadlines (“Motion”)

(Doc. No. 57) requesting that the Court enter an Order suspending all deadlines in this case for an

additional period of two weeks. Previously the Court granted the parties’ Motion to Stay for two

weeks (Doc. No. 56). Although Defendant Google agrees to a further suspension of only one week,

after considering said Motion, the Court is of the opinion that said Motion should be GRANTED.

       It is therefore ORDERED that Plaintiff and Defendant shall have up to and including

September 4, 2009 to enter into a final written settlement agreement. All Docket Control and

Discovery Order deadlines will be suspended up to this date.

       While the Court
                    . has been advised that the case has settled, the Court expresses concern that
it has not yet received a final settlement agreement. The Court expects that a final settlement

agreement will be provided expeditiously. If parties fail to provide the Court with timely dismissal

papers, the Court may dismiss this case as settled on its own motion.
                     So ORDERED and SIGNED this 24th day of August, 2009.




                                                     ___________________________________
                                                                JOHN D. LOVE
                                                     UNITED STATES MAGISTRATE JUDGE
